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 7                               UNITED STATES DISTRICT COURT
 8                               CENTRAL DISTRICT OF CALIFORNIA
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10 DAVID H.,                                 Case No. EDCV 5:20-cv-01956-VEB

11                  Plaintiff,               ORDER FOR THE AWARD AND
12                                           PAYMENT OF ATTORNEYS’ FEES
                           v.                AND EXPENSES PURSUANT TO THE
13                                           EQUAL ACCESS TO JUSTICE ACT
14 KILOLO KIJAKAZI, Acting
   Commissioner of Social Security,
15
16           Defendant.

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           Based upon the parties’ Stipulation for the Award and Payment of Equal Access
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     to Justice Act Fees and Expenses, IT IS ORDERED that fees and expenses in the amount
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     of $6,634.00 as authorized by 28 U.S.C. § 2412 be awarded subject to the terms of the
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     Stipulation.
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22         Dated: November 9, 2021          /s/Victor E. Bianchini
                                            VICTOR E. BIANCHINI
23                                          UNITED STATES MAGISTRATE JUDGE
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